765 F.2d 145
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.DENNIS E. KENNEDY, SOCIAL SECURITY NO. vxh-yo-xwklPLAINTIFF-APPELLANT,v.SECRETARY OF HEALTH AND HUMAN SERVICES, DEFENDANT-APPELLEE.
    NO. 84-1879
    United States Court of Appeals, Sixth Circuit.
    5/9/85
    
      ORDER
      BEFORE:  KEITH, MARTIN and JONES, Circuit Judges.
    
    
      1
      This cause comes before the court upon the motion of the Secretary for an order remanding the matter for further review pursuant to the provisions of the Social Security Disability Benefits Reform Act of 1984, H.R. 3755, 98th Cong., 2d Sess., 130 Cong.  Rec. H9821 (daily ed. Sept. 19, 1984).
    
    
      2
      Upon review of the legislation the court finds the instant case to be an action '. . . relating to medical improvement' as that term is defined in the Act.  The Act applies to all disability termination cases pending in the federal courts as of September 19, 1984, and requires that such cases be remanded to the Secretary for review under the proper standard.  Payment of benefits will resume pending a decision on remand.  See Harmon v. Secretary, ---- F. 2d ---- (6th Cir.  No. 83-5755; December 3, 1984).  Upon consideration of the unopposed motion and the memorandum of the law offered in support thereof, the motion is found to be well taken;
    
    
      3
      It is therefore ORDERED that the cause be remanded to the district court with instructions to remand to the Secretary for further consideration under the Act.
    
    